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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA,
        Plaintiff,
                v.                                    Case No. 22-cv-964 (JDB)
 KOHL’S INC. F/K/A KOHL’S DEPARTMENT
 STORES, INC.,
        Defendant.


                                       ORDER

      It is hereby ORDERED that the attached stipulation is APPROVED and the stipulated

Order is ADOPTED.

      SO ORDERED.


                                                                       /s/
                                                                JOHN D. BATES
                                                           United States District Judge


Dated: May 04, 2022
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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                                       Case No. __1:22-cv-00964__________
     Plaintiff,
                                                       STIPULATED ORDER AND
            v.                                         JUDGMENT FOR CIVIL
                                                       PENALTIES, PERMANENT
KOHL’S INC. F/K/A KOHL’S DEPARTMENT                    INJUNCTION, AND OTHER RELIEF
STORES, INC.,

    Defendant.


       Plaintiff, the United States of America, acting upon notification and authorization to the

Attorney General by the Federal Trade Commission (“Commission” or “FTC”), filed its

Complaint for Civil Penalties, Permanent Injunction and Other Relief (“Complaint”), pursuant to

Sections 5(m)(1)(B), 13(b), and 16(a)(1) of the Federal Trade Commission Act (“FTC Act”), 15

U.S.C. §§ 45(m)(1)(B), 53(b), and 56(a)(1), and pursuant to the Textile Fiber Products

Identification Act (“Textile Act”), 15 U.S.C. § 70 et seq., and the Rules and Regulations

thereunder (“Textile Rules”), 16 C.F.R. Part 303. Defendant has waived service of the summons

and the Complaint. Plaintiff and Defendant stipulate to the entry of this Stipulated Order and

Judgment for Civil Penalties, Permanent Injunction and Other Relief (“Order”) to resolve all

matters in dispute in this action between them.

       THEREFORE, IT IS ORDERED as follows:

                                           FINDINGS

   1. This Court has jurisdiction over this matter.

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2. The Complaint charges that, in marketing and selling rayon textile products as “bamboo,”

   Defendant participated in deceptive acts or practices in violation of Section 5 of the FTC

   Act, 15 U.S.C. § 45; engaged in such acts or practices with actual notice that the

   Commission had previously determined them to be unfair or deceptive, 15 U.S.C.

   § 45(m)(1)(B); and engaged in mislabeling or deceptive advertising of textile products in

   violation of the Textile Act, 15 U.S.C. § 70 et seq., and the Textile Rules, 16 C.F.R.

   Part 303.

3. The Commission sent Defendant a letter dated January 27, 2010, informing Defendant that

   certain acts or practices in connection with the advertising of textile fiber products may

   violate the Textile Act and the Textile Rules and are unfair or deceptive under Section

   5(a)(1) of the FTC Act, 15 U.S.C. § 45(a)(1).

4. Defendant neither admits nor denies any of the allegations in the Complaint, except as

   specifically stated in this Order. Only for purposes of this action, Defendant admits the

   facts necessary to establish jurisdiction.

5. Defendant waives any claim that it may have under the Equal Access to Justice Act, 28

   U.S.C. § 2412, concerning the prosecution of this action through the date of this Order,

   and agrees to bear its own costs and attorney fees.

6. Defendant and Plaintiff waive all rights to appeal or otherwise challenge or contest the

   validity of this Order.

                                     DEFINITIONS

   For the purpose of this Order, the following definitions apply:



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A. “Covered Product” means any or all of the following products sold by Defendant, unless

   Defendant does not have an ownership interest in such product and prior to the point of

   purchase, clearly and conspicuously informs consumers that there is a third-party seller for

   that product: (1) any article of wearing apparel, costume or accessory, drapery, floor

   covering, furnishing, bedding, or other textile good of a type customarily used in a

   household, regardless of where used, that is made, in whole or in part, of yarn or fabric

   comprised, in whole or in part, of any Manufactured Fiber, as that term is defined herein;

   or (2) any fiber, yarn, or fabric comprised, in whole or in part, of a Manufactured Fiber, as

   that term is defined herein, whether in the finished or unfinished state, used or intended for

   use in any such textile good.

B. “Defendant” means Kohl’s Inc. f/k/a Kohl’s Department Stores, Inc. and its successors

   and assigns.

C. “Fiber Trademark” means a word or words used to identify a particular fiber sold by a

   person and to distinguish it from fibers of the same generic class sold by others, as defined

   in 16 C.F.R. § 303.1(r).

D. “FTC” or “Commission” means the Federal Trade Commission.

E. “Generic Name of Any Manufactured Fiber” means any name for a textile fiber

   established and defined by the Commission pursuant to Section 70e(c) of the Textile Act,

   as set forth in 16 C.F.R. § 303.7.

F. “Manufactured Fiber” means any fiber derived by a process of manufacture from any

   substance which, at any point in the manufacturing process, is not a fiber, as defined in 15



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        U.S.C. § 70(d).

     G. “Required Information” means such information as is required to be disclosed on labels

        or invoices and in advertising under the Textile Act, 15 U.S.C. § 70 et seq., and under the

        Textile Rules, 16 C.F.R. Part 303, as defined in 16 C.F.R. § 303.1(e).

                                              ORDER

I.     PROHIBITION AGAINST DECEPTIVE CLAIMS, INCLUDING FALSE AND/OR
                         UNSUBSTANTIATED CLAIMS

        IT IS THEREFORE ORDERED that Defendant, Defendant’s officers, agents, employees,

and attorneys, and all other persons in active concert or participation with any of them, who

receive actual notice of this Order, whether acting directly or indirectly, in connection with the

manufacturing, labeling, advertising, promotion, offering for sale, sale, or distribution of any

Covered Product are permanently restrained and enjoined from making any representation,

expressly or by implication, that such product:

        A. is made of bamboo or bamboo fiber, including, but not limited to, through the use of a

            Fiber Trademark or other descriptive term or name for a product or product line; or

        B. if made of bamboo or bamboo fiber:

               1. is produced free of harmful chemicals, using non-toxic materials, or in a way

                   that is non-polluting or safe for humans or the environment; or

               2. has any other environmental benefit or attribute, in whole or in part, because it

                   is derived from bamboo;

unless the representation is non-misleading, and, at the time such representation is made,

Defendant possesses and relies upon competent and reliable scientific evidence that is sufficient


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in quality and quantity based on standards generally accepted in the relevant scientific fields,

when considered in light of the entire body of relevant and reliable scientific evidence, to

substantiate that the representation is true. For purposes of this Provision, “competent and

reliable scientific evidence” means tests, analyses, research, or studies that: (1) have been

conducted and evaluated in an objective manner by qualified persons and (2) are generally

accepted in the profession to yield accurate and reliable results.

 II.    PROHIBITION AGAINST VIOLATING THE TEXTILE ACT AND TEXTILE
                                 RULES

       IT IS FURTHER ORDERED that Defendant, Defendant’s officers, agents, employees,

and attorneys, and all other persons in active concert or participation with any of them, who

receive actual notice of this Order, whether acting directly or indirectly, in connection with the

manufacturing, labeling, advertising, promotion, offering for sale, sale, or distribution of any

Covered Product, are permanently restrained and enjoined from:

       A. Selling, offering for sale, or advertising in commerce any Covered Product that is

           falsely or deceptively stamped, tagged, labeled, invoiced, advertised, or otherwise

           identified as to the name or amount of constituent fibers contained therein as set forth

           in 15 U.S.C. §§ 70a, 70b.

       B. Failing to use the recognized Generic Name of Any Manufactured Fiber in the

           Required Information in any labels, invoices, or advertising of any Covered Product as

           set forth in 16 C.F.R. §§ 303.6, 303.7.

       C. Failing to include all Required Information on labels for any Covered Product as set

           forth in 15 U.S.C. § 70b(b), 16 C.F.R. §§ 303.16, including identifying:


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       1. The generic names and percentages by weight of the constituent fibers present

           in the Covered Product, in amounts of 5 percent or more and in the order of

           predominance, as set forth in 16 C.F.R. § 303.16(a)(1);

       2. The name, or registered identification number issued by the Commission, of

           the manufacturer or of one or more persons marketing or handling the Covered

           Product, as set forth in 16 C.F.R. § 303.16(a)(2); and

       3. The name of the country where such Covered Product was processed or

           manufactured, as set forth in 16 C.F.R. §§ 303.16(a)(3), 303.33.

D. Failing to ensure that any Fiber Trademark or generic name used on the label of, or in

   any advertising for, any Covered Product, as set forth in 16 C.F.R. §§ 303.17(d),

   303.41(d):

       1. Is not false, deceptive, or misleading as to fiber content; and

       2. Does not indicate, directly or indirectly, that the Covered Product is composed

           wholly or in part of a particular fiber, when such is not the case.

E. Failing to ensure that any non-Required Information or representation used on the

   label of, or in the advertising for, any Covered Product, as set forth in 16 C.F.R. §§

   303.16(c), 303.42(b):

       1. Does not interfere with, minimize, detract from, or conflict with Required

           Information;

       2. Does not include any names, terms, or representations prohibited by the Textile

           Act or Textile Rules; and


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       3. Is not false, deceptive, or misleading.

F. Where a Covered Product is advertised in such manner as to require disclosure of the

   information required by the Textile Act and Textile Rules, failing to include all parts

   of the Required Information in immediate conjunction with each other in legible and

   conspicuous type or lettering of equal size and prominence, as set forth in 16 C.F.R.

   § 303.42(a).

G. Where a Fiber Trademark is used in advertising a Covered Product, failing, as set forth

   in 16 C.F.R. § 303.41:

       1. To include the generic name of the fiber contained in such Covered Product in

           immediate proximity to and in conjunction with such Fiber Trademark in

           legible and conspicuous type or lettering of equal size and prominence; and

       2. To include a full disclosure of the fiber content information required by the

           Textile Act and Textile Rules in at least one instance in any such

           advertisement.

H. Failing to ensure that any words, coined words, symbols, or depictions used in the

   labeling or advertising of a Covered Product which:

       1. Constitute or imply the name or designation of a fiber; or

       2. Are phonetically similar to the name or designation of a fiber; or

       3. Are only a slight variation of spelling from the name or designation of a fiber,

   are not used in such a manner as to represent or imply that such fiber is present in the

   Covered Product, unless such fiber is actually present in that product, as set forth in 16


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           C.F.R. § 303.18.

       I. Failing to maintain for at least three (3) years, required records for any Covered

           Products manufactured by Defendant, including records showing the fiber content, as

           set forth in 15 U.S.C. § 70d(a); 16 C.F.R. § 303.39.

       Provided, further, that nothing in this Order shall prohibit Defendant from complying

with the Textile Act or Textile Rules by establishing that it received and maintained in good faith

a guaranty, which complies fully with Section 70h of the Textile Act, 15 U.S.C. § 70h, and with

Sections 303.36-303.38 of the Textile Rules, 16 C.F.R. §§ 303.36-303.38, that such Covered

Product is not misbranded or falsely invoiced. A guaranty shall not be received or maintained in

good faith after Defendant knows or should have known that products covered by the guaranty are

or likely may be mislabeled or deceptively advertised, including after being notified by the

Commission that such products are or likely may be mislabeled or deceptively advertised.

       Provided further, that if it is not legally possible to obtain a guaranty at the time

Defendant takes an ownership interest in a Covered Product, and: (1) Defendant does not

embellish or misrepresent claims provided by the manufacturer about a Covered Product; and

(2) the Covered Product is not sold by Defendant as a private label product, then Defendant shall

only be liable for a violation of this Section if it knew or should have known that the marketing or

sale of the Covered Product would violate this Section.

       Provided further, that in the event the Textile Act or Textile Rules are amended or

modified, nothing in this Section shall impose upon Defendant obligations that go beyond what is

required under the amended or modified version of the Textile Act or Textile Rules.



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                 III.   MONETARY JUDGMENT FOR CIVIL PENALTY

         IT IS FURTHER ORDERED that:

         A. Judgment in the amount of Two Million Five Hundred Thousand Dollars ($2,500,000)

            is entered in favor of Plaintiff against Defendant, as a civil penalty.

         B. Defendant is ordered to pay to Plaintiff, by making payment to the Treasurer of the

            United States, Two Million Five Hundred Thousand Dollars ($2,500,000). Such

            payment must be made within 7 days of entry of this Order by electronic fund transfer

            in accordance with instructions previously provided by a representative of Plaintiff.

         C. Defendant relinquishes dominion and all legal and equitable right, title, and interest in

            all assets transferred pursuant to this Order and may not seek the return of any assets.

         D. The facts alleged in the Complaint will be taken as true, without further proof, in any

            subsequent civil litigation by or on behalf of the Commission, including in a

            proceeding to enforce its rights to any payment or monetary judgment pursuant to this

            Order.

         E. Defendant acknowledges that its Taxpayer Identification Number (Employer

            Identification Number), which Defendant must submit to the Commission and

            Plaintiff, may be used for collecting and reporting on any delinquent amount arising

            out of this Order, in accordance with 31 U.S.C. § 7701.

                           IV.    ORDER ACKNOWLEDGMENTS

         IT IS FURTHER ORDERED that Defendant obtain acknowledgments of receipt of this

Order:



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      A. Defendant, within 7 days of entry of this Order, must submit to the Commission an

         acknowledgment of receipt of this Order sworn under penalty of perjury.

      B. For 5 years after entry of this Order, Defendant must deliver a copy of this Order to:

         (1) all principals, officers, directors, and LLC managers and members; (2) all

         employees, agents, and representatives having managerial responsibilities for conduct

         related to the subject matter of the Order; and (3) any business entity resulting from

         any change in structure as set forth in the Section titled Compliance Reporting.

         Delivery must occur within 7 days of entry of this Order for current personnel. For

         all others, delivery must occur before they assume their responsibilities.

      C. From each individual or entity to which Defendant delivered a copy of this Order,

         Defendant must obtain, within 30 days, a signed and dated acknowledgment of receipt

         of this Order.

                           V.    COMPLIANCE REPORTING

      IT IS FURTHER ORDERED that Defendant make timely submissions to the

Commission:

      A. One year after entry of this Order, Defendant must submit a compliance report, sworn

         under penalty of perjury, that must: (1) identify the primary physical, postal, and

         email address and telephone number, as designated points of contact, which

         representatives of the Commission and Plaintiff may use to communicate with

         Defendant; (2) identify all of Defendant’s businesses by all of their names, telephone

         numbers, and physical, postal, email, and Internet addresses; (3) describe the activities



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   of each business, including the goods and services offered, and the means of

   advertising, marketing, and sales; (4) describe in detail whether and how Defendant is

   in compliance with each Section of this Order; and (5) provide a copy of each Order

   Acknowledgment obtained pursuant to this Order, unless previously submitted to the

   Commission.

B. For 10 years after entry of this Order, Defendant must submit a compliance

   notice, sworn under penalty of perjury, within 14 days of any change in the

   following: (1) any designated point of contact; or (2) the structure of Defendant or any

   entity that Defendant has any ownership interest in or controls directly or indirectly

   that may affect compliance obligations arising under this Order, including: creation,

   merger, sale, or dissolution of the entity or any subsidiary, parent, or affiliate that

   engages in any acts or practices subject to this Order.

C. Defendant must submit to the Commission notice of the filing of any bankruptcy

   petition, insolvency proceeding, or similar proceeding by or against Defendant within

   14 days of its filing.

D. Any submission to the Commission required by this Order to be sworn under penalty

   of perjury must be true and accurate and comply with 28 U.S.C. § 1746, such as by

   concluding: “I declare under penalty of perjury under the laws of the United States of

   America that the foregoing is true and correct. Executed on: _____” and supplying

   the date, signatory’s full name, title (if applicable), and signature.

E. Unless otherwise directed by a Commission representative in writing, all submissions



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           to the Commission pursuant to this Order must be emailed to DEbrief@ftc.gov or sent

           by overnight courier (not the U.S. Postal Service) to: Associate Director for

           Enforcement, Bureau of Consumer Protection, Federal Trade Commission, 600

           Pennsylvania Avenue NW, Washington, DC 20580. The subject line must begin:

           United States v. Kohl’s Inc., “bamboo.”

                                 VI.    RECORDKEEPING

       IT IS FURTHER ORDERED that Defendant, in connection with the marketing and/or sale

of Covered Products, must create certain records for 10 years after entry of the Order, and retain

each such record for 5 years. Specifically, Defendant must create and retain the following

records:

       A. accounting records showing the revenues from all goods or services sold;

       B. personnel records showing, for each person employed by Defendant as a manager

           having responsibilities for Defendant’s marketing or sale of Covered Products in any

           category that Defendant uses to organize its business (e.g., apparel, home, baby, etc.),

           that person’s: name; addresses; telephone numbers; job title or position; dates of

           service; and (if applicable) the reason for termination;

       C. all records necessary to demonstrate full compliance with each provision of this Order,

           including all submissions to the Commission; and

       D. a representative sample of advertisements or other marketing materials.

                         VII.     COMPLIANCE MONITORING

       IT IS FURTHER ORDERED that, for the purpose of monitoring Defendant’s compliance



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with this Order and any failure to transfer any assets as required by this Order:

       A. Within 14 days of receipt of a written request from a representative of the Commission

           or Plaintiff, Defendant must: submit additional compliance reports or other requested

           information, which must be sworn under penalty of perjury; appear for depositions;

           and produce documents for inspection and copying. The Commission and Plaintiff

           are also authorized to obtain discovery, without further leave of court, using any of the

           procedures prescribed by Federal Rules of Civil Procedure 29, 30 (including

           telephonic depositions), 31, 33, 34, 36, 45, and 69, provided that Defendant, after

           attempting to resolve a dispute without court action and for good cause shown, may

           file a motion with this Court seeking an order for one or more of the protections set

           forth in Rule 26(c).

       B. For matters concerning this Order, the Commission and Plaintiff are authorized to

           communicate directly with Defendant. Defendant must permit representatives of the

           Commission and Plaintiff to interview any employee or other person affiliated with

           Defendant who has agreed to such an interview. The person interviewed may have

           counsel present.

       C. The Commission and Plaintiff may use all other lawful means, including posing,

           through its representatives, as consumers, suppliers, or other individuals or entities, to

           Defendant or any individual or entity affiliated with Defendant, without the necessity

           of identification or prior notice. Nothing in this Order limits the Commission’s lawful

           use of compulsory process, pursuant to Sections 9 and 20 of the FTC Act, 15 U.S.C.



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           §§ 49, 57b-1.

                      VIII.     RETENTION OF JURISDICTION

       IT IS FURTHER ORDERED that this Court retains jurisdiction of this matter for purposes

of construction, modification, and enforcement of this Order.



              SO ORDERED this fourth day of                  May                        , 2022.



                                         John   D. Bates   Digitally signed by John D. Bates
                                                           Date: 2022.05.04 17:21:02 -04'00'
                                           _______________________________
                                            UNITED STATES DISTRICT JUDGE




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SO STIPULATED AND AGREED:

FOR PLAINTIFF
THE UNITED STATES OF AMERICA:

BRIAN M. BOYNTON
Principal Deputy Assistant Attorney General
Civil Division

ARUN G. RAO
Deputy Assistant Attorney General

GUSTAV W. EYLER (D.C. Bar No. 997162)
Director
Consumer Protection Branch

LISA K. HSIAO (D.C. Bar No. 444890)
Assistant Director

By: /s/ Rachael L. Doud
Rachael L. Doud
Trial Attorney
Consumer Protection Branch
U.S. Department of Justice
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FEDERAL TRADE COMMISSION


/s/ Miriam R. Lederer
MIRIAM R. LEDERER
DC Bar No. 983730
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600 Pennsylvania Avenue, NW
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Washington, DC 20580

202-326-2975, mlederer@ftc.gov
202-326-3197 (fax)




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            FOR DEFENDANT:

            _____________________________________ Date: 1/24/22
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            DEFENDANT: Kohl’s Inc.

                                                                       
            ______________________________________             Date: __________

            Doug Howe, Chief Merchandising Officer, Kohl’s, Inc.




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